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                                                                                 E-FILED
                                                    Friday, 07 January, 2022 09:35:32 AM
                                                             Clerk, U.S. District Court, ILCD

          IN THE UNITED STATES DISTRICT COURT
          FOR THE CENTRAL DISTRICT OF ILLINOIS
                  SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,            )
                                     )
               Plaintiff,            )
                                     )
     v.                              )       Case No. 12-CR-30019
                                     )
SYLVESTER PURHAM                     )
                                     )
               Defendant.            )

                      OPINION AND ORDER

SUE E. MYERSCOUGH, U.S. District Judge:

     Before the Court is Defendant Sylvester Purham’s Motion for

Compassionate Release (d/e 162) and his Amended Motion for

Compassionate Release (d/e 167) in which Defendant requests a

reduction in his term of imprisonment pursuant to 18 U.S.C. §

3582(c)(1)(A). While an extraordinary and compelling reason exists

warranting a review of Defendant’s sentence, Defendant has not

shown that such a reduction is warranted considering the

sentencing factors in 18 U.S.C. 3553(a). Therefore, Defendant’s

Motions (d/e 162, 167) are DENIED.




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                           BACKGROUND

     Defendant Sylvester Purham pleaded guilty to Conspiracy to

Distribute Controlled Substances in violation of 21 U.S.C. §

841(b)(1)(A) on May 31, 2012. On June 4, 2013, the Government

filed a notice of prior conviction under 21 U.S.C. § 851, citing

Defendant’s prior Illinois state conviction for manufacture/delivery

of a controlled substance under 720 ILCS 570/401, which would

trigger enhanced penalties under § 841(b)(1)(A). After an appeal to

the Seventh Circuit, Defendant was eventually sentenced to 324

months’ imprisonment to be followed by 10 years’ supervised

release. Defendant then filed a motion to vacate, set aside, or

correct his sentence pursuant to 28 U.S.C. § 2255, which the Court

denied on December 1, 2020.

     Defendant filed a pro se Motion for Compassionate Release on

November 8, 2021. (d/e 162). After the Court appointed counsel,

Defendant filed an Amended Motion for Compassionate Release on

December 8, 2021. (d/e 167). In each motion, Defendant argues

that, were he sentenced today, he would not be subject to the

enhanced penalties under § 841(b)(1)(A) and that his sentence

should, therefore, be reduced.


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                         LEGAL STANDARD

     The Court is generally statutorily prohibited from modifying a

term of imprisonment once it has been imposed. See 18 U.S.C. §

3582(c). However, several statutory exceptions exist, one of which

allows the Court to grant a defendant compassionate release if

certain requirements are met. See 18 U.S.C. § 3582(c)(1)(A).

     Section 603(b)(1) of the First Step Act amended the statutory

language at 18 U.S.C. § 3582(c)(1)(A). See First Step Act of 2018,

Pub. L. No. 115-391, 132 Stat 5194. Prior to the First Step Act, the

Court could grant a defendant compassionate release only if the

Director of the BOP filed a motion seeking that relief. With the

enactment of the First Step Act, 18 U.S.C. § 3582(c)(1)(A) now

allows an inmate to file with the Court a motion for compassionate

release, but only after exhausting administrative review of a BOP

denial of the inmate’s request for BOP to file a motion or waiting 30

days from when the inmate’s request was received by the BOP,

whichever is earlier. The statute now provides as follows:

          The court, upon motion of the Director of the Bureau of
          Prisons, or upon motion of the defendant after the
          defendant has fully exhausted all administrative rights to
          appeal a failure of the Bureau of Prisons to bring a
          motion on the defendant’s behalf or the lapse of 30 days


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           from the receipt of such a request by the warden of the
           defendant’s facility, whichever is earlier, may reduce the
           term of imprisonment (and may impose a term of
           probation or supervised release with or without
           conditions that does not exceed the unserved portion of
           the original term of imprisonment), after considering the
           factors set forth in section 3553(a) to the extent that they
           are applicable, if it finds that—
           (i) extraordinary and compelling reasons warrant such a
               reduction . . . and that such a reduction is consistent
               with applicable policy statements issued by the
               Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A). Following the statute, then, “[o]nly after

finding an extraordinary and compelling reason for release need the

[Court], as part of ‘exercising the discretion conferred by the

compassionate release statute, . . . consider any applicable

sentencing factors in § 3553(a).’” United States v. Ugbah, 4 F.4th

595, 597 (7th Cir. 2021) (quoting United States v. Thacker, 4 F.4th

569, 576 (7th Cir. 2021).

                              ANALYSIS

     As an initial matter, Defendant has satisfied the exhaustion

requirement because his initial request to the warden of USP Lee

was denied on September 20, 2021. Defendant appealed that

denial on October 15, 2021 but has not yet received a response.

Because over 30 days have lapsed since Defendant appealed the



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warden’s denial, Defendant’s motion is now properly before the

Court under the exhaustion requirement of §3582(c)(1)(A).

     The parties’ arguments center around the Seventh Circuit’s

recent holding in United States v. Ruth, 966 F.3d 642 (7th Cir.

2021). In Ruth, the Seventh Circuit considered whether a prior

conviction of manufacturing with the intent to distribute cocaine in

Illinois, 720 ILCS 570/401, could qualify as a predicate offense for

the sentencing enhancements within 21 U.S.C. § 841. Those

enhancements raise the mandatory minimum of a defendant’s

sentence. Specifically, and relevant here, the enhancement at §

841(b)(1)(A) would bring a defendant’s mandatory minimum

sentence to 15 years if sentenced today. The Ruth Court held that

Illinois’ cocaine felony offense defines cocaine more broadly than §

841 to the extent that a prior conviction under the Illinois statute

cannot qualify as a predicate offense to trigger § 841’s enhanced

penalties. 966 F.3d at 650. Defendant argues that this change in

statutory interpretation of § 841’s enhancement is substantive,

retroactively applicable to his case, and an extraordinary and

compelling reason warranting a reduction in his sentence.




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       The Government contests whether Ruth’s holding is

retroactive and, therefore, properly brought under the

compassionate release statute, 18 U.S.C. §3582(c)(1)(A). The

Government argues that, following the Seventh Circuit’s decision in

United States v. Thacker, 4 F.4th 569 (7th Cir. 2021), Ruth cannot

be either retroactive or an extraordinary and compelling reason

warranting a sentence reduction. In Thacker, the Seventh Circuit

considered whether the First Step Act’s amendments to the stacking

provisions of 18 U.S.C. § 924(c) could warrant a sentence reduction

under the compassionate release statute. The Court held that the

amendments could not because the compassionate release statute

“cannot be used to effect a sentencing reduction at odds with

Congress’s express determination . . . that the amendment to §

924(c)’s sentencing structure apply only prospectively.” 4 F.4th at

574.

       The law at issue in the present case is different from that in

Thacker. Unlike the statute in Thacker, here there is no express

determination that Ruth’s holding cannot be retroactive or amount

to an extraordinary and compelling reason warranting a sentence

reduction. Thacker involved a defendant’s ability to use the


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compassionate release statute to request a reduction in sentence

based on statutory changes in how sentences are calculated. In

contrast, Ruth is a binding decision by the Seventh Circuit Court of

Appeals and a result of judicial statutory interpretation. It is not a

statute which Congress expressly stated would only apply

prospectively. See 4 F.4th at 574. Moreover, the Thacker Court

expressly limited its ruling to the inapplicability of the

compassionate release statute as it related to the stacking provision

in § 924(c). 4 F.4th at 575 (“In the end, our conclusion is limited.

We hold only that the discretionary sentencing reduction authority

conferred by § 3582(c)(1)(A) does not permit . . . the reduction of

sentences lawfully imposed before the effective date of the First Step

Act's amendment to § 924(c).”) Section 924(c)’s stacking provisions

are not an issue in the present case. As a result, Thacker is not on

point, and the Court must instead determine whether Ruth is a

retroactive change in substantive law applicable to Defendant’s

case. It is.

     Generally, new constitutional rules of criminal procedure

announced by courts are not retroactive in application. Welch v.

United States, 578 U.S. 120, 128 (2016) (quoting Teague v. Lane,


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489 U.S. 288, 310 (1989)). However, decisions which announce

either new substantive rules or “watershed rules of criminal

procedure, which are procedural rules implicating the fundamental

fairness and accuracy of the criminal proceeding” will apply

retroactively. Id. (cleaned up).

     The Seventh Circuit’s decision in Ruth is both substantive and

a watershed decision. The Court’s holding announced that Illinois’

statute criminalizing the manufacture and distribution of cocaine is

constitutionally overbroad as applied to § 841’s sentencing

enhancements because the Illinois’s statutory definition of cocaine

contemplates more geometric isomers than its federal counterpart.

Ruth, 966 F.3d at 647. As a result, the § 841 sentencing

enhancement cannot apply to defendants previously convicted

under 720 ILCS 570/401. This significant change in statutory

interpretation narrowed the “the substantive reach” of § 841’s

enhanced penalties, “altering the range of conduct or class of

persons” subject to it. Welch, 578 U.S. at 129. Where, as here, a

judicial decision interpreting a federal statute does so and “affect[s]

the reach of the underlying statute,” the decision is substantive and

retroactive. Welch, 578 U.S. at 130 (citing Teague, 489 U.S. 288).


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Therefore, the Seventh Circuit’s decision in Ruth is retroactive, and

the resulting change in sentencing law constitutes an extraordinary

and compelling reason which may warrant a reduction in sentence.

     But while an extraordinary and compelling reason exists, the

Court denies Defendant’s request for a sentence reduction. As an

initial matter, Defendant’s United States Sentencing Guideline

range would not change if he had been sentenced without the § 841

enhancement. At Defendant’s sentencing hearing, the Court

calculated Defendant’s applicable sentencing guideline range of

imprisonment as 360 months to life. Sent. Tr. (d/e 125) 17:14–20.

This guideline range was the result of multiple enhancements to

Defendant’s base offense level, none of which was the result of his

prior Illinois conviction. These enhancements included

enhancements for having a co-conspirator purchase a firearm for

Defendant, for making threats of violence against two individuals,

for using multiple residences during his crime, and for acting as a

manager of the conspiracy. Id. at 15:21–16:12. Moreover, as the

Government noted at sentencing, Defendant managed the

conspiracy for which he was convicted—which was also one of the

largest drug trafficking organizations in Quincy in 2010 and 2011—


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while already in custody within the Illinois Department of

Corrections. Id. at 19:19–20:13. Therefore, not only did the § 841

enhancement have a negligible effect on Defendant’s final sentence,

the sentencing factors of 18 U.S.C. 3553(a)—namely, the nature

and circumstances of the offense and the need for the sentence to

reflect the seriousness of Defendant’s offense—weigh against

disturbing Defendant’s imposed sentence.

     The Court also considers Defendant’s history since sentencing.

While in prison, Defendant has committed multiple infractions.

These include threatening bodily harm, possessing a dangerous

weapon and unauthorized items, multiple instances of possessing

and using drugs and alcohol, and multiple instances of possessing

a hazardous tool. Additionally, Defendant was convicted of

possessing contraband in prison in the District of Colorado case

number 16-cr-00238 and sentenced to an additional 27 months’

imprisonment and 3 years’ supervised release. Clearly, the

sentence imposed is still necessary to afford adequate deterrence

and to protect the public from further crimes of Defendant.

     Defendant also argues that the Court should consider the

current 18:1 crack-to-powder cocaine sentencing disparity as


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weighing in favor of a sentence reduction. As Defendant notes,

though, the Court already considered the disparity when sentencing

Defendant to 324 months’ imprisonment—36 months below the

bottom of his advisory guideline range. While Defendant also notes

that the House of Representatives recently passed a bill which

would lower the crack-to-powder disparity to 1:1, H.R. 1693, 117th

Cong. (2021), the bill has yet to become law, so the Court will not

consider the bill in making its determination. As the law stands

now, the Court determines that Defendant’s sentence remains

sufficient but not greater than necessary to comply with the

purposes of the sentencing factors set out in 18 U.S.C. § 3553(a).

                           CONCLUSION

     Because the sentencing factors set out in 18 U.S.C. 3553(a)

weigh against granting Defendant a reduction in sentence, his

Motion for Compassionate Release (d/e 162) and Amended Motion

for Compassionate Release (d/e 167) are DENIED.

IT IS SO ORDERED.
ENTERED: January 6, 2022
FOR THE COURT:

                                /s/ Sue E. Myerscough
                                SUE E. MYERSCOUGH
                                UNITED STATES DISTRICT JUDGE

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